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                         IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF DELAWARE

 DNA GENOTEK INC.,                                      )
                                                        )
                              Plaintiff,                )
                                                        )
         v.                                             )         C.A. No. 15-661-SLR
                                                        )
 SPECTRUM DNA, SPECTRUM SOLUTIONS                       )
 L.L.C., and SPECTRUM PACKAGING L.L.C.,                 )
                                                        )
                             Defendants.                )


        PLAINTIFF’S NOTICE OF SUBSEQUENT AUTHORITY REGARDING
      DEFENDANTS’ RENEWED MOTION TO DISMISS DNA GENOTEK’S FIRST
        AMENDED COMPLAINT FOR LACK OF PERSONAL JURISDICTION

       In Defendants’ Reply in Support of Their Renewed Motion to Dismiss Plaintiff’s First

Amended Complaint for Lack of Personal Jurisdiction (D.I. 108) Defendants Spectrum DNA,

Spectrum Solutions L.L.C., and Spectrum Packaging L.L.C. (“Spectrum”) argued as follows:

       . . . Spectrum now faces two virtually identical cases, one here and one freshly-filed
       action by Plaintiff on a substantially similar patent in California, in a blatant act of
       forum shopping. While Spectrum’s burden has multiplied, Reply Williams Decl. ¶
       9, Plaintiff can simply pursue these claims in California. Requiring Spectrum to
       face the same suit, at the same time, in two states is inconsistent with both Due
       Process and common sense. (D.I. 108 at 10.)

       Plaintiff DNA Genotek, Inc. respectfully submits this Notice of Subsequent Authority to

inform the Court that the California case referenced in Spectrum’s brief has been stayed pending

the outcome of inter partes review of the patent-in-suit in that case (a continuation from the

application for the patent-in-suit in the instant case). See DNA Genotek, Inc. v. Spectrum

Solutions L.L.C. et al., Case No. 3:16-cv-01544-JLS-NLS, Order Granting Defendants’ Motion

to Stay Litigation Pending Inter Partes Review, D.I. 62 (S.D. Cal., Oct. 7, 2016) (Ex. A). Thus,

the only active litigation between the parties is before this Court.
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          Dated: October 17, 2016




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